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    EXHIBIT 1
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                           Dennis Carry
                                                    Sergeant
                                            Washoe County Sheriff’s Office
                                            911 Parr Blvd. Reno, NV. 89512
                                                    (775) 328-3320
                                              Curriculum Vitae
                                                    October 2015


 Education:
 Associates Degree in Applied Science, Law Enforcement
 Truckee Meadows Community College, 2004

 High Sierra Regional Law Enforcement Academy
 Truckee Meadows Community College, 1995


 Synopsis:
 Employed by the Washoe County Sheriff’s Office since January 1996 and currently assigned as the Unit
 Supervisor of Cybercrimes Investigations, Northern Nevada Cyber Center within the Special Operations
 Division. Primary responsibilities involve the coordination and investigation of cyber related crimes to include
 internet crimes against children, computer intrusion and hacking, cyber related fraud, and cyber terrorism.
 Successfully assisted in the drafting of several legislative bills, which were subsequently signed into law.
 Previously qualified and testified as an expert in both state and federal courts. In addition to working at the
 Washoe County Sheriff’s Office, I also operate as an independent contractor relating to law enforcement
 training and Cybercrime related matters.



 Work Experience:
 12/2011-Current: Sergeant, Northern Nevada Cyber Center, Special Operations Division.
        Responsible to supervise, coordinate, and conduct cyber related investigations involving internet crimes
        against children, computer intrusion and hacking, cyber related fraud, and cyber terrorism. Coordinates
        task force activity of the Internet Crimes Against Children Task Force and assigned to the FBI’s Cyber
        Crime Task Force. Servers as a Special United States Deputy Marshal and conducts computer forensic
        examinations.

 7/03- 12/2011: Detective Division, Crimes against Children Unit and Special Operations Division
        Responsible to investigate cases involving allegations of child abuse, sexual exploitation, and sexual
        crimes against children.
        Additional responsibilities:
               Assignment to the Internet Crimes against Children Task Force (ICAC) in conjunction with the
               Federal Bureau of Investigation, working in an online undercover capacity to locate and arrest
               suspects involved in online child pornography and those utilizing technology to lure children. I
               also conduct computer forensics investigations involving sexual exploitation of children and
               other computer related crimes as needed and sworn as a Special United States Deputy Marshal.
               Coordinates task force case assignment and management. Also serves as a Detective Field
               Training Officer.

 1/03-7/03: Detective Division, Crimes Against Property Unit. (Burglary).
        Responsible to investigate crimes considered Property Crimes including Burglary, Grand Larceny,
        Identity Theft, and other similar types of crimes. Also investigated Homicides, Sexual Assaults, and
        other crimes as needed.
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 Rank- Deputy Sheriff
 4/01-1/03 Patrol Division.
        Responsibilities included handling calls for service, responding to emergencies, and other normal Patrol
        duties including traffic enforcement, taking reports, and making arrests for criminal violations.

 9/99-4/01 Detention line position.
        Responsibilities included safety and security of incarcerated prisoners within the Detention Facility.

 1/99-9/00 Alternatives to Incarceration Unit, House Arrest.
        Responsibilities included locating and identifying prisoners suitable for placement within the
        community to serve court mandated sentences while being electronically monitored. Responsibilities
        also included enforcement of rules and regulations of the program and compliance with State and Local
        Laws.

 1/96-1/99 Detention line position.
        Responsibilities included safety and security of incarcerated prisoners within the Detention Facility.
        Field training officer (1997-2001).

 Additional Work Experience:
 2009-Present: Independent Contract Instructor for Fox Valley Technical College, Internet Crimes against
 Children Training and Technical Assistance Program.
        Provides training to federal, state, and local law enforcement personnel assigned to internet crimes
        against children duties. Training assignments include computer forensic on scene triaging, case
        management, and Peer to Peer investigations. I’ve trained over 400 law enforcement personnel in these
        fields. Also involves the modifying and development of course curriculum.

 Training related to Computer Forensics / Incident Response: (983 hours)
            • Secret Service NCFI Network Intrusion Response Program, Mar 9-27, 2015, 112 hours
            • SANS 508 Advanced Computer Forensic Analysis and Incident Response, October 20-25, 14 48
                hours
            • SANS 408 Computer Forensic Investigations, Windows in Depth, Sep 16-21, 2013 36 hours
            • SANS 503 Intrusion Detection in-Depth, Sep 3-8, 2013 36 hours
                                                                   rd
            • SRT Cardinal Utilization and Tracking, February 20-23 , 2012, 24 hours
            • Berla Corp Blackthorn2 GPS Forensic Training and Certification, Jan 31-Feb 2, 2012. 24 hours.
                                                                                       nd
            • Guidance Software Encase Network Intrusion Investigations, Nov 29-Dec 2 , 2011, 32 hours.
                                                                                                            th
            • SANS 508 Advanced Computer Forensic Analysis and Incident Response, September 18-24 , 48
               hours
                                               th  th
            • Access Data MAC Forensics, May 10 -12 , 2011, 21 hours.
                                                         th             rd
            • Computer Forensics by Infosec, August 30 -September 3 , 2010, 40 hours.
                                                               th
            • FBI CYD 3450 Intrusion Response, January 6-8 , 2009, 24 hours.
                                                           th
            • Access Data Windows Forensics, October 7-9 , 2008, 21 hours
                                         rd
            • Wireless Security, July 2-3 , 2008, 16 hours
            • FBI CART Case Agent Investigative Review, April 29, 2008
                                                                       th
            • FBI CYD 1500 Linux for Law Enforcement, January 11-13 , 2007 24 hours
            • FBI CYD 1050 Introduction to Internet Investigations, December 5, 2007
                                                                                   th
            • SEARH Core Skills for Investigations of Cell Phones. November 13-16 , 2007 32 hours.
                                                                 th
            • Access Data FTK Applied Decryption, March 13-15 , 2007. 21 hours.
            • Guidance Software Encase Advanced Computer Forensics, February 6-9t, 2007. 32 hours
        • Helix Live Forensics E103 Incident
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                                          Document       51-1 January 23-25,06/28/16
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           • Advanced Responders-Search & Seizure of SOHO Networks, Nov 28-30, 2006. 24 hours
           • FBI Networks and Networking for Agents/System security and exploitation, June 12-23, 2006, 80
              hours.
           • Access Data FTK Forensic Intermediate Boot Camp, December 28-30, 2005, 24 hours
           • Knoppix first responder, May 3, 2005, 8 hours.
           • NW3C Advanced Email Recovery and Forensics, April 18-22, 2005, 36 hours.
           • Guidance Software Encase Advanced email and Internet Investigations, Mar 22-25, 2005, 32
              hours.
           • NW3C Advanced Data and Recovery Analysis, May 17-21, 2004, 36 hours.
           • Guidance Software Encase Intermediate Analysis and Reporting, Aril 19-23, 2004, 32 hours.
           • Guidance Software Encase Introduction to Computer Forensics, January 20-23, 2004, 32 hours.
           • A+ Hardware, 2004. 64 hours


 Training related to sexual exploitation of children: (688 hours)
           • 2013 Crimes Against Chilren Conference, Dallas, August 12-15, 2013 19.5 hours
                                                                                             th
           • 2012 National Strategy Conference on Combating Child Exploitation, April 16-19 , 2012, 21
               hours
                                                                                           th
           • 2011 National Strategy Conference on Combating Child Exploitation, May 17-20 , 2011, 21 hours
                                                                    th         th
           • Crimes Against Children Conference, Dallas, August 9 -12 , 2010, 19.5 hours
                                                                          th
           • 2010 I.C.A.C. National Conference, Jacksonville, FL May 11-14 , 2010, 15 hours
           • Roundup P2P update, December 14-15, 2009, 12 hours
           • Gridcop Child Protection System CPS, Florida, November 8-11, 2009, 24 hours
                                                                         th         th
           • Crimes Against Children Conference, Dallas, August 17 -20 , 2009, 19.5 hours
           • 2009 Silicon Valley ICAC Conference, San Jose, May 13-15, 2009, 15 hours
                                                                                         th
           • Project Safe Childhood National Conference, Ohio, September 23-26 , 2008, 21 hours
                                                                         th         th
           • Crimes Against Children Conference, Dallas, August 11 -14 , 2008, 19.5 hours
                                                                              th
           • Project Safe Childhood Conference, New Mexico June 2-6 , 2008, 36 hours
                                                              st
           • PATC Interviewing the Sexual Deviant, May 19-21 , 2008, 24 hours
                                                                             th
           • Internet Crimes Against Children Conference, San Jose, Oct 15-18 , 2007. 21 hours
                                                                               th
           • Crimes Against Children Conference, Dallas, August 13-16 , 2007. 19.5 hours.
                                                                   th
           • I.C.A.C. Peer Precision Training Program, June 26-29 , 2007. 28 hours.
           • OJJDP Internet Crimes Against Children Undercover Chat Investigations, March 19-23, 2007. 36
               hours.
           • Internet Crimes Against Children Conference, August 2006, 20.5 hours
           • Advanced Innocent Images FBI, July 18-20, 2006, 24 hours.
           • Internet Crimes Against Children Conference, August 2005, 20.5 hours
           • National Crimes Against Children Conference Dallas, August 23-26, 2004, 19.5 hours.
           • OJJDP Internet Crimes Against Children Investigative Techniques, April 11-16, 2005, 36 hours.
           • SEARCH Investigation of Online Child Exploitation Level 2, March 22-25, 2004, 32 hours.
           • SEARCH Investigation of Online Child Exploitation Level 1, February 23-27, 2004, 40 hours.
           • OJJDP Child Sexual Exploitation Seminar, February 9-13, 2004, 36 hours.
           • PATC Child Injury and Death Investigation, November 24-26, 2003, 20 hours.
           • Innocent Images FBI Internet Crimes Against Children certification, October 2003, 32 hours.
           • Western States Sexual Assault Seminar, September 10-12, 2003, 20 hours.
           • PATC Child Interview Techniques, August 4-5, 2003, 16 hours.
 Other2:16-cr-00100-GMN-DJA
Case   training related to Detectives/Investigations:
                                        Document 51-1 (225 hours)
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                                                                                    th
            • California Homicide Investigators Association Conference, March 6-9 , 2006, 24 hours.
                                                                              th
            • Officer Involved Shootings and in Custody Deaths, March 16-17 , 2006, 16 hours.
                                                            th
            • Practical Homicide Investigation, March 13-15 , 2006. 24 hours
                                                                     th
            • Conducting Homicide Investigations, September 13-15 , 21 hours
            • Interview and Interrogations by Interview and Interrogation Assoc. Feb 28-Mar 4, 2005 40 hrs.
            • I2 Inc. Analyst Notebook, June 7-11, 2004, 32 hours.
            • Interview and Interrogation, March 31- April 2, 2003, 24 hours.
            • California Homicide Investigators Association Conference, March 5-7 2003. 24 hours
            • Background Investigator School, December 1999, 20 hours.
            • Interview and Interrogation, March 29-31 1999, 24 hours



 Notable Testimony or Notable Presentations:
 2013-Conference of Western States Attorneys Generals, Santa Monica, California
 2009- Testified to the Nevada Legislature (AB 88) (AB 494) (SB 427)
 2009- Girl Scouts Cyber Safety Town Hall with Attorney General Catherine Cortez-Masto
 2008/2009- NV Attorney General’s working group on child exploitation laws.
 2008- Presented to the Nevada Technological Advisory Board on child exploitation laws and virtual words.
 2007- Testified to the Nevada Legislature (Assembly Bill 72).
 2006- Presented to the National College of District Attorney’s Association training, Reno, NV
 1999- Testified to the Nevada Legislature (Senate Bill 115).


 Developed Courses or Classes:
 2013: BJA Technology Review, Distance Learning Course.
 2010: Internet Crimes against Children for Prosecutors and Investigators
 2010: Managing Computer Forensics for Today’s Investigations. A triage approach to forensics.
 2010: How to present your case. Approaches to high tech crime investigation and prosecution

 INSTRUCTOR/CASE PRESENTATIONS:
 2015: FBI Basic Internet Crimes, Linthicum, MD
 2015: I.C.A.C. BitTorrent, Westminster, CO
 2015: I.C.A.C. BitTorrent, Billings, MT
 2015: I.C.A.C. IT, Plantation, FL
 2015: I.C.A.C. Interviewing Peer to Peer Suspects, Webinar.
 2014: I.C.A.C. Advanced Peer to Peer, Federal Bureau of Investigations IINI headquarters
 2014: I.C.A.C. Gigatribe Investigations and on Scene Triage, Decatur, GA
 2014: I.C.A.C. Basic Internet Investigations, Federal Bureau of Investigations IINI headquarters
 2014: I.C.A.C. BitTorrent, Federal Bureau of Investigations IINI headquarters
 2014: Dallas Crimes Against Children Conference, Roundup Ares and ePhex
 2014: I.C.A.C. On scene triage, Irvine, CA
 2014: I.C.A.C. BitTorrent, Irvine, CA
 2014: I.C.A.C. BitTorrent, Phoenix, AZ
 2014: Internet Crimes Against Children Regional Conference, Columbus, OH
 2014: Internet Crimes Against Children Regional Conference, Atlanta, GA
 2014: I.C.A.C. On scene Triage, Boise ID
 2014: I.C.A.C. BitTorrent, Boise, ID
 2014: I.C.A.C. BitTorrent, Green Bay, WI
 2014: I.C.A.C. BitTorrent, Phoenix, AZ
 2013: I.C.A.C. BitTorrent, Orlando, FL
 2013: I.C.A.C. IT, Plantation, FL
 2013: I.C.A.C. BitTorrent, Columbus, OH
 2013: I.C.A.C.
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 2013: I.C.A.C. IT, Meriden, CT
 2013: I.C.A.C. Ares, ST Louis, MO
 2013: I.C.A.C. BitTorrent, Tampa, FL
 2013: I.C.A.C. IT, Tampa, FL
 2013: I.C.A.C. IT, Dallas, TX
 2013: I.C.A.C. Roundup Ares, Phoenix, AZ
 2013: I.C.A.C. Roundup Ares, Plantation, Florida
 2013: I.C.A.C. Roundup Ares, Columbia South Carolina
 2013: I.C.A.C. Roundup Ares, Forest, Virginia
 2013: Understanding E-mail BJA Distance learning project
 2013: I.C.A.C. IT, Burlington, Vermont
 2013: I.C.A.C. Roundup Ares, Forest, Virginia
 2013: I.C.A.C. Roundup Ares, Omaha, Nebraska
 2012: I.C.A.C. Roundup Emule, Las Vegas (Internal Task Force Training)
 2012: I.C.A.C. Rounup Ares, Las Vegas (Internal Task Force Training)
 2012: I.C.A.C. Roundup Ares, Sarasota, Florida
 2012: National Strategy Conference on Combating Child Exploitation, Interviewing Peer to Peer Suspects,
 Atlanta, Ga.
 2012: National Strategy Conference on Combating Child Exploitation, Roundup Emule, Atlanta, Ga.
 2012: I.C.A.C. Roundup Ares, Savannah, GA.
 2012: I.C.A.C. Rounup Emule, Savannah, GA.
 2011: I.C.A.C. Roundup Emule, Plantation, FL
 2011: I.C.A.C. Roundup Peer to Peer, San Diego, CA.
 2011: I.C.A.C. IT, Columbus, OH.
 2011: National Strategy Conference on Combating Child Exploitation, Rapid Triage Forensics. Reducing Your
 Computer Forensic Backlog, San Jose, Ca.
 2011: I.C.A.C. IT, Las Vegas, NV.
 2011: I.C.A.C. Roundup Peer to Peer, Appleton WI.
 2011: I.C.A.C. Roundup Peer to Peer, Greenville, SC.
 2010: I.C.A.C. Roundup Peer to Peer, Phoenix, AZ.
 2010: I.C.A.C. Roundup Peer to Peer, Newport Beach, CA.
 2010: Internet Crimes against Children for Prosecutors and Investigators, Reno, NV.
 2010: I.C.A.C. Roundup Peer to Peer, Dallas, TX Crimes Against Children Conference
 2010: Richard Raymer Case Presentation, I.C.A.C. National Conference, Jacksonville, FL.
 2010: I.C.A.C. Roundup Peer to Peer, Jacksonville, FL.
 2010: I.C.A.C. Roundup Peer to Peer, San Jose, CA.
 2009: I.C.A.C. Roundup Peer to Peer, Columbus, OH
 2009: Understanding the Gnutella Network, Portsmouth, NH.
 2009: EP2P: Silicon Valley I.C.A.C. Conference, San Jose, CA.
 2009: EP2P: I.C.A.C. Training and technical Assistance P2P class, Anchorage, Alaska
 2009: EP2P: Dallas Crimes Against Children Conference, Dallas, Texas

 Professional Certificates:
 GIAC GCFA (Certified Computer Forensic Analyst)                          ​2015
 GIAC GCFE (Certified Computer Forensic Examiner)                           ​2013
 Nevada Peace Officers’ Standards and Training Supervisor Certificate          ​2012
 CFHI Certified Hacking Forensic Investigator by EC-Council        ​2010
 Access Data Certified Computer Examiner, ACE                         ​2009
 Nevada Peace Officers’ Standards and Training Advanced Certificate 2​ 008
 Nevada Peace Officers’ Standards and Training Intermediate Certificate         ​2008
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                                              Basic Certificate.



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